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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                          Case No. 20-CR-190 (ADM/TNL)

 UNITED STATES OF AMERICA.                      )      SUPERSEDING INDICTMENT
                                                )
                     Plaintiff,                 )      18   U.S.C.   S2
                                                )      18   U.S.c.   $   e2a(c)(1xA)(ii)
              V.                                )      18   u.s.c.
                                                                 s e24(d)(1)
                                                )      18 U.S.C. S e81(a)(1)(C)
 DERRICK LEE SPILLMAN. and                      )      18 U.S.C. S 1e51
                                                )      2r U.S.C. $ 853(p)
 DAIJON LEWIS MILES.                            )      28 U.S.C. $ 2461(c)
                                                )
                     Defendants.                )

       THE UNITED STATES GRAND JURY CHARGES THAT:

                                      COUNT    1

                      (Interference with Commerce by Robbery)

       On or about July 28, 2020, in the State and District of Minnesota, the

defendants,

                         DERRICK LEE SPILLMAN, and
                           DAIJON LEWIS MILES;

aiding and abetting one another, or conspiring with each other, did unlawfully

obstruct, delay and affect commerce, as defined by Title 18, United States Code,

Section 1951(b)(3), and the movement of articles and commodities in such commerce,

by robbery, as defined by Title 18, United States,Code, Section 1951(b)(1), in that the

defendants did unlawfully take and obtain personal property from the person of or in

the immediate presence of employees of a Holiday gas station, located at L444
Minnehaha Avenue East in St. Paul, Minnesota, a commercial business then engaged

in   interstate commerce, against the employees'      will by means of actual              and

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                                                                           U.S. DISTRICT COUHT MPLS
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threatened force, violence, and fear of injury, immediate and future, to their persons

and property, that is, a defendant brandished what appeared to the victims to be a

firearm, to compel the employees to relinquish to the defendants property belonging

to the business, including U.S. currency and Minnesota Lottery Tickets, aII in
violation of Title 18. United States Code, Sections 2 and 1951.

                                         COUNT    2
                           (Interference with Commerce by Robbery)

        On or about JuIy 28, 2020, in the State and District of Minnesota, the

defendants,

                               DERRICK LEE SPILLMAN,       ANd
                                 DAIJON LEWIS MILES,

aiding and abetting one another, or conspiring with each other, did unlawfully

obstruct, delay and affect commerce, as defined by Title 18, United States Code,

Section 1951O)(3), and the movement of articles and commodities in such commerce,

by robbery, as defined by Title 18, United States Code, Section 1951(b)(1), in that the

defendants did unlawfully take and obtain personal property from the person of or in

the immediate presence of employees of Sharrett's Liquor Store, located at 2389

University Avenue West in St. Paul, Minnesota, a commercial business then engaged

in   interstate commerce, against the employees'        will by means of actual      and

threatened force, violence, and fear of injury, immediate and future, to their persons

and property, that is, the defendants brandished what appeared to the victims to be

firearms, to compel the employees to relinquish to the defendants property belonging


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to the business, including U.S. currency and liquor, all in violation of Title 18, United

States Code, Sections 2 and 1951.

                                           COUNT 3
                           (Interference with Commerce by Robbery)

        On or about JuIy 28, 2020,        in the State and District of Minnesota,      the

defendants,

                               DERRICK LEE SPILLMAN, and
                                 DAIJON I,EWIS MILES,

aiding and abetting one another, or conspiring with each other, did unlawfully

obstruct, delay and affect commerce, as defined by Title 18, United States Code,

Section 1951(b)(3), and the movement of articles and commodities in such commerce,

by robbery, as defined by Title 18, United States Code, Section 1951(b)(1), in that the

defendants did unlawfully take and obtain personal property from the person of or in

the immediate presence of employees of Gopher Liquor, located at 335 Monroe Street

Northeast     in   Minneapolis, Minnesota,    a commercial business then      engaged in

interstate commerce, against the employees' will by means of actual and threatened

force, violence, and fear of injury, immediate and future,        to their persons    and

property, that is, the defendants brandished what appeared to the victims to be

fi.rearms, to compel the employees to relinquish to the defendants property belonging

to the business, including U.S. currency, all in violation of Title 18, United States

Code. Sections 2 and 1951.
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                                         COUNT 4
                        (Using, Carrying and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        On or about July 28, 2020, in the State and District of Minnesota, the

defendants,

                               DERRICK LEE SPILLMAN, and
                                 DAIJON LEWIS MILES,

aiding and abetting one another, or conspiring with one another, during and in

relation to a crime of violence for which they may be prosecuted in a court of the

United States, that is, the crime set forth in Count 3 of this Indictment, which is

hereby realleged and incorporated herein by reference, did knowingly and unlawfully

use, carry, and brandish a firearm,      all in violation of Title 18, United States Code,

Sections 2 and 92a(cX1)(A)(ii).

                                           COUNT 5
                           (Interference with Commerce by Robbery)

        On or about July 30, 2020, in the State and District of Minnesota, the

defendant,

                                  DERRICK LEE SPILLMAN.

did unlawfully obstruct, delay and affect commerce, as defined by Title 18, United

Stutus Code, Section 1951(bX3), and the movement of articles and commodities in

such commerce, by robbery, 3s defined by          Title 18, United States Code, Section
1951(b)(1),   in that the defendant did unlawfully take and obtain personal property

from the person of or in the immediate presence of employees of a Holiday gas station,

located at7295 University Avenue in Fridley, Minnesota, a commercial business then
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engaged in interstate commerce, against the employees'      will by means of actual and

threatened force, violence, and fear of injury, immediate and future, to their persons

and property, that is, the defendant brandished what appeared to the victims to be a

firearm, to compel the employees to relinquish to the defendant property belonging

to the business, including U.S. currency, all in violation of Title 18, United States

Code, Section 1951.

                                           COUNT 6
                           (Interference with Commerce by Robbery)

        On or about JuIy 30, 2020, in the State and District of Minnesota, the

defendant,

                                  DERRICK LEE SPILLMAN.

did unlawfully obstruct, delay and affect commerce, as defined by Title 18, United

States Code, Section 1951(bX3), and the movement of articles and commodities in

such commerce, by robbery, zrs d.efined by       Title 18, United States Code, Section
1951(b)(1),   in that the defendant did unlawfully take and obtain personal property

from the person of or in the immediate presence of employees of a Speedway gas

station, Iocated      at 6545 West River Road in       Brooklyn Center, Minnesota,      a

commercial business then engaged in interstate commerce, against the employees'

will by means of actual and threatened force, violence, and fear of injury, immediate

and future, to their persons and property, that is, the defendant brandished what

appeared to the victims to be a firearm, to compel the employees to relinquish to the
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defendant property belonging to the business, including U.S. currency, aII in violation

of   Title   18, United States Code, Section 1951.

                                           COUNT 7
                           (Interference with Commerce by Robbery)

         On or about JuIy 30, 2020,       in the State and District of Minnesota,       the

defendant,

                                  DERRICK LEE SPILLMAN,

did unlawfully obstruct, delay and affect commerce, as defined by Title 18, United

States Code, Section 1951(b)(3), and the movement of articles and commodities in

such commerce, by robbery, &s defined by             Title 18, United States Code,   Section

1951(bX1),      in that the defendant did unlawfully take and obtain personal property

from the person of or in the immediate presence of employees of a Subway store,

located at 2147 Lowry Avenue North           in Minneapolis,     Minnesota, a commercial

business then engaged in interstate commerce, against the employees'will by means

of actual and threatened force, violence, and fear of injury, immediate and future, to

their persons and property, that is, the defendant brandished what appeared to the

victims to be a fi.rearm, to compel the employees to relinquish to the defendant

property belonging to the business, including U.S. currency, all in violation of Title

18, United States Code, Section 1951.

                                           COUNT 8
                           (Interference with Commerce by Robbery)

         On or about JuIy 30, 2020, in the State and District of Minnesota, the

defendant,
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                                 DERRICK LEE SPILLMAN.

did unlawfully obstruct, delay and affect commerce, as defined by Title 18, United

States Code, Section 1951(b)(3), and the movement of articles and commodities in

such commerce, by robbery, a.s defined by        Title 18, United States Code,   Section

1951(b)(1),   in that the defendant did unlawfully take and obtain personal property

from the person of or in the immediate presence of employees of a Holiday gas station,

located at 9456 27th Avenue North in New Hope, Minnesota, a commercial business

then engaged in interstate commerce, against the employees' will by means of actual

and threatened force, violence, and fear of injury, immediate and future, to their

persons and property, that is, the defendant brandished what appeared to the victims

to be a firearm, to compel the employees to relinquish to the defendant property

belonging to the business, including U.S. currency, all in violation of Title 18, United

States Code. Section 1951.

                                        COUNT 9
                       (Using, Carrying and Brandishing a Firearm
                       During and in Relation to a Crime of Violence)

        On or about July 30, 2020, in the State and District of Minnesota, the

defendant,

                                 DERRICK LEE SPILLMAN.

during and in relation to a crime of violence for which he may be prosecuted in a court

of the United States, that is, the crime set forth in Count 8 of this Indictment, which

is hereby realleged and incorporated herein by reference, did knowingly and
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unlawfully use, carry, and brandish a firearm, aII in violation of Title 18, United

States Code, Section 92a(c)(1)(A)(ii).

                                FORFEITURE ALLEGATIONS

        If convicted of Counts 1-3 of this Indictment. the defendants,

                               DERRICK LEE SPILLMAN, ANd
                                  DAIJON LEWIS MILES,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

981(a)(1)(C), and Title 28, United States Code, Section 246I(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the violations

alleged in Counts 1-3 of this Indictment.

        If convicted of Counts 5-8 of this Indictment, the defendant,

                                  DERRICK LEE SPILLMAN,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

981(a)(1)(C), and Title 28, United States Code, Section 246I(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the violations

alleged in Counts 5-8 of this Indictment.

        If convicted of any Count of this Indictment, the defendants,

                               DERRICK LEE SPILLMAN, and
                                  DAIJON LEWIS MILES

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(1), and       Title 28, United States Code, Section 246t(c), any       firearms,

accessories, and ammunition involved      in or used in connection with the violations
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alleged in any Count(s) of this Indictment, including any firearms, ammunition and

accessories seized therewith.

        If any of the above-described forfeitable property is unavailable for forfeiture,

the United States intends to seek the forfeiture of substitute property as provided for

in Title 21, United States Code, Section 853(p), as incorporated by Title 28, United

States Code, Section 2aGtG).

                                       A TRUE BILL




 UNITED STATES ATTORNEY                         FOREPERSON




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